 Case 3:15-cv-06215-PGS-DEA Document 11 Filed 09/25/15 Page 1 of 1 PageID: 275




                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY



    HAMILTON TOWNSHIP PUBLIC SCHOOL                         .


                                                          Civil Action No:   1 5-cv-062 15 (PGS)(DEA)
    DISTRICT BD. OF EDUC.,

                        Plaint iJj                                           ORDER

    V.




    W,F. & J.F. O/B/O Their Minor Son, C.F.,

                           Defendants.



         THIS MATTER having been presented to the Court by a Complaint and an Order to Show

Cause by the Plaintiff and on notice to the Defendant to enter emergent relief reversing a decision of

Administrative Law Judge Susan Scarola striking Dr. Kozlik’s expert report, and having considered

the submissions of the parties, having heard oral argument on September 24, 2015, and for the reasons

set forth on the record,

         IT IS on this 25th day of September, 2015 hereby:

         ORDERED that Plaintiff’s request to enter emergent relief is DENIEI) without prejudice as it

is not ripe for determination;

         The Clerk is directed to close the file.




                                                     frMcC
                                                    PETER G. SHERIDAN, LS.D.J.
